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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA

              v.                                   Case No. 1:19-cr-125 (ABJ)

GREGORY B. CRAIG,

                      Defendant.


                                   NOTICE OF APPEARANCE

       I hereby give notice to the Clerk of Court of my appearance in this matter as counsel for

Defendant Gregory B. Craig. I am a member in good standing of the Bar of this Court.



Dated: July 3, 2019                         Respectfully submitted,


                                                /s/ Paula M. Junghans
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